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 5    Attorneys for Plaintiff
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 7
 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
11     KRISTY LEIBOWITZ,                            Case No. 2:22-cv-00598-FLA-RAO
12
                           Plaintiff,               PLAINTIFF’S RESPONSE TO
13                                                  COURT’S ORDER TO SHOW
14                         v.                       CAUSE AND REQUEST FOR AN
                                                    EXTENSION OF TIME TO FILE
15                                                  DEFAULT MOTION
       GOOD LEAF, INC. d/b/a MERRY
16     JANE,
                                                    Hon. Fred W. Slaughter
17
                          Defendant.
18
19
            Plaintiff respectfully submits the following in response to the Court’s Order,
20
      dated June 21, 2022, directing Plaintiff to Show Cause as to why this case should
21
22    not be dismissed without prejudice for lack of Prosecution. Dkt. No. 19. The Court
23
      issued the Order to Show Cause upon finding that more than 90 days have passed
24
      since the complaint in this case was filed, and Plaintiff has not filed a proof of service
25
26    on Defendant. Id.
27
28

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 1       I.       INTRODUCTION
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               Plaintiff respectfully submits that this action should not be dismissed for want
 3
 4    of prosecution, insofar as neither Plaintiff nor counsel intended to have any

 5    dereliction in the prosecution of this case. Instead, the fact that a motion for default
 6
      judgment was not filed was due to a series of unfortunate events, largely beyond
 7
 8    Plaintiff’s control.

 9       II.      RESPONSE
10
               Plaintiff filed the instant Complaint on January 27, 2022. Dkt. No. 1. The
11
      Clerk of the Court issued the requested Summons on the following day. Dkt. No. 9.
12
13    Defendant was served on February 1, 2022, and proof of such service was filed with
14
      the Court on February 2, 2022. Dkt. No. 11. As a result, Defendant’s Answer was
15
      due on February 22, 2022.
16
17             Plaintiff filed a request for the Clerk to enter a notation of default on March
18
      11, 2022 (Dkt. No. 13), and the default was entered the same day. Dkt. No. 14. On
19
      April 20, 2022, Chief Judge Philip S. Gutierrez entered an Order transferring this
20
21    case from Judge Fernando L. Aenlle-Rocha to Your Honor. Dkt. No. 16.
22
               On June 21, 2022, Your Honor issued an Order directing Plaintiff to file a
23
24    motion for a default judgment on or before July 7, 2022. Dkt. No. 19. The event

25    was duly calendared, however, the associate who was primarily responsible for
26
      handling this case on behalf of the Firm (Nipun Marwaha, Esq.) tested positive for
27
28    COVID-19 on or about June 27, 2022, and was instructed to quarantine for not less

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 1    than ten (10) days by the diagnosing physician. During his quarantine period, Mr.
 2
      Marwaha suffered frequent bouts of severe fatigue, which impeded his ability to
 3
 4    work, even remotely. While Mr. Marwaha fortunately recovered from, his COVID

 5    infection, he left the Firm without notice immediately after his recovery. This
 6
      required the Firm to perform an emergency review of all cases assigned to Mr.
 7
 8    Marwaha, in an effort to identify any and all pending due dates, including the filing

 9    of a motion for default judgment in response to the Court’s Order to Show cause
10
      issued herein. Unfortunately, despite the Firm’s best efforts to identify all such dates
11
12    and avoid any default, as occurred here, we did not identify the deadline in this case

13    in sufficient time to have a proper motion filed by the July 7 deadline, further
14
      complicated by the intervening July 4 holiday.
15
16          Plaintiff is now fully prepared to file a proper motion for default judgment
17    and, respectfully requests that the Court extend the time for her to do so for a period
18
      of three (3) weeks, so as to recover from the sudden and unexpected departure of
19
20    Mr. Marwaha.
21       III.   CONCLUSION
22
            For all the reasons set forth herein, it is respectfully requested that the Court
23
24    exercise its discretion and find that Plaintiff has provided a sufficient explanation

25    for her failure to have filed a motion for default judgment on or before July 7, 2022,
26
      and that this action should not be dismissed for want of prosecution with Plaintiff
27
28    being granted until July 29, 2022 to file a motion for a default judgment, together

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 1    with such other further and different relief the court deems just and proper.
 2    DATED: July 13, 2022
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